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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

        Dante Brown,                                  )
                                                      )      Case No. 18-cv-05955
                       Plaintiff,                     )
                                                      )
               v.                                     )      Honorable Sharon Johnson Coleman
                                                      )
        Wexford Health Sources, Inc. et al.,          )      Magistrate Judge Sheila M. Finnegan
                                                      )
                       Defendants.                    )

                                    JOINT STATUS REPORT

Status of Fact Discovery

        For all intents and purposes, fact discovery is postured to be closed. With the retirement

of Abraham Brustein and the subsequent appointment of Mark J. Silberman, Plaintiff’s counsel is

in the process of reviewing the available documentation with the purpose of verifying that there is

no further discovery needing to be required. Counsel previously represented to the Court, and

represents herein, that any request to extend discovery will be initially raised with counsel for

Defendants to see if agreement can be reached and will be limited to that which is necessary to

fulfill counsel’s legal obligations to Mr. Brown. That said, all scheduled depositions have been

completed.

Status of Transition of Counsel

        Mr. Silberman has had the ability to have an initial call with Mr. Brustein who, despite his

retirement, has continued to make himself available as a resource to facilitate the transition and

ensure the protection of Mr. Brown’s interests. Mr. Silberman has identified a team of attorneys

at Benesch who will assist with representing Mr. Brown and have begun to review the available

discovery. Plaintiff’s counsel has secured the first available date and time to speak with Mr. Brown




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on November 12, 2021 to ensure appropriate communication between counsel and client and agree

upon the strategic advancement of this matter. It is our expectation that we should be able to have

reviewed discovery by that point and then be able to clarify whether we need to proceed with

expert discovery or whether the parties can move forward with dispositive motions.

Dispositive Motions

        Defendants are ready to proceed with dispositive motions. Rather than unnecessarily

extend the briefing schedule, Plaintiff’s counsel wants to get up to speed and coordinate with his

client prior to the establishment of the briefing schedule and will abide by whatever scheduling

this Court deems appropriate.

Status of Settlement

        The parties at this point are not inclined to pursue a settlement conference but will keep the

court advised as to any changes in that regard.

                                               Respectfully Submitted,

 Dante Brown                                        Wexford Health Sources, Inc., Ghaliah
                                                    Obaisi, as Independent Executor of the Estate
                                                    of Saleh Obaisi, M.D., and Richard Orenstein,
                                                    DDS
 By: /s/ Mark J. Silberman                          By: /s/ Edward A. Khatskin
     One of his attorneys                               One of their attorneys

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    One of her attorneys                               One of its Attorney

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